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wEsTERN DISTRICT oF TENNESSE"E dea 21 sit tG= l 7
Western Division

  

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UNITED STATES OF AMERICA `€=€`\!<F_i, Gi`~' l`l'~l. lv‘:§l=.-’\FH¥S
-vs- Case No. 2:05cr20233~Ml

ROOSEVELT HENDERSON

 

ORDER OF DETENT|ON PENDING TRlAL
F|NDINGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

DlRECT|ONS REGARD|NG DETENTION

ROOSEVEL'I` HENDERSON is committed to the custody of the Attomey General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. ROOSEVELT HENDERSON shall be afforded a
reasonable opportunity for private consultation with defense counsel. On order of a Court of the United States or on
request of an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant
to the United States marshal for the purpose of an appearance in connection wh a Court '. ‘

  

Date: June 24, 2005

 

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20233 was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

